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           17                          UNITED STATES DISTRICT COURT

           18                       SOUTHERN DISTRICT OF CALIFORNIA

           19
                   LUMINENCE, LLC,                          CASE NO. 16CV2106 BTM DHB
           20
                              Plaintiff,                    JOINT MOTION FOR DISMISSAL
           21
                                                            OF COMPLAINT PURSUANT TO
           22           vs.                                 FED. R. CIV. P. 41(A)(2)
           23
                   HP CRAFT, INC.                           [PROPOSED ORDER FILED
           24
                                                            CONCURRENTLY HEREWITH]
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Group, APC
          Case 3:16-cv-02106-BTM-DHB Document 12 Filed 01/10/17 PageID.41 Page 2 of 3



               1         Pursuant to Rule 41(a)(2) of the FEDERAL RULES OF CIVIL
               2   PROCEDURE, Plaintiff LUMINENCE, LLC, by counsel, and Defendant HP
               3   CRAFT, INC., by counsel (collectively “the Parties”), hereby move for the entry of
               4   the attached proposed Order of Dismissal, dismissing with prejudice the complaint
               5   in the above-captioned action as between the Parties, with the Parties bearing their
               6   own fees and costs.
               7

               8   DATED: January 9, 2017             QUINTANA LAW GROUP
               9
                                                      A Professional Law Corporation

           10

           11                                         By:       /s/ Andres Quintana
           12
                                                            Andres F. Quintana, Esq.
           13                                               Attorneys For Defendant
                                                            HP CRAFT, INC.
           14

           15      DATED: January 10, 2017            CAPRON LAW OFFICES
           16

           17

           18                                         By: /s/ Matthew H. Capron

           19                                               Matthew H. Capron, Esq.
           20                                               Attorneys For Plaintiff
                                                            LUMINENCE, LLC
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Group, APC
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          Case 3:16-cv-02106-BTM-DHB Document 12 Filed 01/10/17 PageID.42 Page 3 of 3



               1                               SIGNATURE ATTESTATION
               2            I hereby certify that authorization for the filing of this document has been
               3   obtained from each of the other signatories shown above and that all signatories
               4   concur in the filing’s content.
               5   DATED: January 10, 2017               QUINTANA LAW GROUP
               6
                                                         A Professional Law Corporation

               7

               8                                         By:       /s/ Andres Quintana
               9
                                                               Andres F. Quintana, Esq.
           10                                                  Attorneys For Defendant
                                                               HP CRAFT, INC.
           11

           12

           13                                        PROOF OF SERVICE
           14               I hereby certify that on this 10th day of January, 2017, I electronically filed
           15      the Parties’ JOINT MOTION FOR DISMISSAL OF COMPLAINT PURSUANT
           16      TO FED. R. CIV. P. 41(A)(2) using the CM/ECF system, which will automatically
           17      send an email notification to participants in the case who are registered CM/ECF
           18      users.
           19      DATED: January 10, 2017               QUINTANA LAW GROUP
                                                         A Professional Law Corporation
           20

           21

           22                                            By:       /s/ Andres Quintana

           23                                                  Andres F. Quintana, Esq.
           24                                                  Attorneys For Defendant
                                                               HP CRAFT, INC.
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